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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    KEY WEST DIVISION


 KEYS PHASE ONE, LLC
 D/B/A THE GRAND GUESTHOUSE,                                       CASE NO.: 4:18-cv-10124

       Plaintiff,

 vs.

 UNITED SPECIALTY INSURANCE
 COMPANY,

       Defendant.
 _________________________________/

                                   NOTICE OF REMOVAL

        Defendant, UNITED SPECIALTY INSURANCE COMPANY (“United Specialty”), by

 and through undersigned counsel with full reservation of rights including all defenses permitted

 by Rule 12 of the Federal Rules of Civil Procedure and all other jurisdictional, procedural, and

 venue defenses as well as defenses to the merit of this action, hereby file with this Court,

 pursuant to 28 U.S.C §1441 and §1446, a Notice of Removal to the Court of a civil action filed

 in the Circuit Court of the Sixteenth Judicial Circuit in and for Monroe County, Florida as Case

 No: 18-CA-814-K in which United Specialty has been named as Defendant and states as follows:

        1.      Plaintiff, Keys Phase One d/b/a The Grand Guesthouse (“Keys Phase One”), has

 filed an action in the Circuit Court in the Sixteenth Judicial Circuit in and for Monroe County,

 Florida naming United Specialty as Defendant.

        2.      A copy of Plaintiff’s Complaint, which was served on United Specialty on July

 16, 2018, is attached hereto as Exhibit “A”.
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        3.      A complete copy of the state court file in Case No: 18-CA-814-K filed in the

 Circuit Court of the Sixteenth Judicial Circuit in and for Monroe County, Florida is attached

 pursuant to 28 U.S.C §1446 as Composite Exhibit “B”.

        4.      Plaintiff, Keys Phase One, is incorporated in the State of Florida and has its

 principal place of business in Monroe County, Florida and for purposes of diversity jurisdiction,

 Plaintiff is a citizen of the State of Florida as its sole managing member, Michael P. Siok, is a

 resident of Big Pine Key, Florida. See Sunbiz printout as to Keys Phase One, attached as Exhibit

 “C;” see also Rolling Greens MHP LP v. Comcast SCH Holdings LLC, 374 F.3d 1020, 1022

 (11th Cir. 2004) (the citizenship of a limited liability company is the citizenship of its members

 for purposes of diversity jurisdiction).

        5.      Defendant, United Specialty, is now, and all times material, domiciled in

 Delaware and has its principal place of business in Texas, and therefore it not a citizen of

 Florida.

        8.      Plaintiff, Keys Phase One’s, Complaint consists solely of a breach of contract

 claim against United Specialty.

        9.      Plaintiff’s Complaint alleges that it is seeking in excess of $15,000.00, the

 jurisdictional amount in Florida Circuit Court. Plaintiff, Keys Phase One’s, alleged damages for

 loss of business income for which it seeks coverage and payment under an insurance policy

 issued by United Specialty exceeds $100,000.00 per correspondence from the Plaintiff dated

 October 1, 2017, attached as Exhibit “D”. Thus, the amount in controversy is in excess of

 $75,000.00.




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        10.     This Court has original jurisdiction of this matter pursuant to 29 U.S.C §1332, as

 there is complete diversity of citizenship between the Plaintiff and Defendant, and the amount in

 controversy exceeds $75,000. Removal of this matter is therefore proper under 28 U.S.C. §1441.

        11.     The Defendant, United Specialty, was served with the Complaint on July 16,

 2018. Thus, the Notice of Removal is being filed within thirty (30) days of United Specialty

 being served with a copy of the Plaintiff’s Complaint as required by 28 U.S.C §1446(b).

        12.     Because there is complete diversity of citizenship and the amount of controversy

 exceeds the jurisdictional amount, this Court has jurisdiction pursuant to 28 U.S.C § 1332.

        13.     Pursuant to 28 U.S.C §1446(d), a copy of the Petition and Notice of Removal is

 being properly filed with the Clerk of the Circuit Court for the Sixteenth Judicial Circuit in and

 for Monroe County, Florida and served on counsel for Plaintiff.

        WHEREFORE, the Defendant, United Specialty Insurance Company, submits that this

 Notice and Petition for Removal be deemed good and sufficient, and that the aforesaid action be

 removed from the Sixteenth Judicial Circuit in and for Monroe County, Florida to the United

 States District Court for the Southern District of Florida, Key West Division, for further

 proceedings.

 Dated: August 3, 2018

                                                     Respectfully submitted,

                                                     SIMON, REED & SALAZAR, P.A.

                                                     /s/ Michael Simon
                                                     MICHAEL SIMON
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                                                    Email: msimon@simonreedlaw.com
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                                                    Florida Bar No. 0093805
                                                    Email: nreeves@simonreedlaw.com
                                                    Counsel for United Specialty

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

 electronically with the Clerk of Court using CM/ECF on this 3rd day of August, 2018.



                                       By: /s/ Michael Simon



                                       SERVICE LIST

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